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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


                                       )                   CHAPTER 7
IN RE:                                 )
                                       )                   CASE NO. 20-67784-JWC
DARWIN G. FLORES,                      )
                                       )
        Debtors.                       )
                                       )
                                       )
S. GREGORY HAYS, as Chapter 7 trustee, )
                                       )
        Movant,                        )
                                       )
v.                                     )                   CONTESTED MATTER
                                       )
U.S. BANK NATIONAL ASSOCIATION,        )
NEWREZ LLC d/b/a Shellpoint Mortgage   )
Servicing, GWINNETT COUNTY TAX         )
COMMISSIONER and DARWIN G. FLORES, )
                                       )
        Respondents.                   )
                                       )


     TRUSTEE’S MOTION FOR AUTHORITY TO (A) SELL PROPERTY OF THE
    BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
     ENCUMBRANCES AND (B) DISBURSE CERTAIN PROCEEDS AT CLOSING

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate of Darwin G. Flores (“Debtor”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m), and Fed. R.

Bankr. P. 2002(a)(2), 6004(a), 6004(c) and 9014, through undersigned counsel, and files

Trustee’s Motion for Authority to (A) Sell Property of the Bankruptcy Estate Free and Clear of

Liens, Interests, and Encumbrances and (B) Disburse Certain Proceeds at Closing (the “Sale

Motion”), respectfully showing:




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                                       Venue and Jurisdiction

        1.      This Court has jurisdiction over this Sale Motion under 28 U.S.C. §§ 157 and

1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. This Sale

Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                             Background

                                       a. General Background

        2.      Debtor initiated the underlying bankruptcy case (the “Case” or “Bankruptcy

Case”) by filing a voluntary petition for relief under Chapter 13 of Title 11 of the United States

Code (the “Bankruptcy Code”) on July 2, 2020 (the “Petition Date”).

        3.      Also on the Petition Date, Debtor filed under penalty of perjury his Statement of

Financial Affairs, Schedules “A” through “J”, and other bankruptcy documents. [Doc. No. 1].

        4.      On February 10, 2022, the Court entered an order converting the Case to one

under Chapter 7. [Doc. No. 50].

        5.      Trustee was thereafter appointed the duly acting Chapter 7 trustee in the Case

under 11 U.S.C. § 701(a)(1), and he remains in this role.

        6.      At the commencement of the Case, the Debtor’s bankruptcy estate was created

under 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and it includes all Debtor’s legal or

equitable interests in property as of the commencement of the Case and any interest in property

that the Bankruptcy Estate acquires after commencement of the Case. 11 U.S.C. §§ 541(a)(1)

and (7).

        7.      Trustee is the sole representative of the Bankruptcy Estate. 11 U.S.C. § 323(a).

        8.      The duties of Trustee include his obligation to “collect and reduce to money the

property of the estate . . . .” 11 U.S.C. § 704.



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       9.      Debtor is now proceeding pro se. [Doc. No. 63].

                                         b. The Property

       10.     On the Petition Date, Debtor was the sole owner of record of a certain real

property with a common address of 5598 Charmaine Bnd, Norcross, GA 30071 (the

“Property”). [Doc. No. 1 at page 20 of 72].

       11.     On his Schedule C: The Property You Claim as Exempt, Debtor scheduled a

homestead exemption in the Property in the amount of $21,500.00 under O.C.G.A. § 44-13-

100(a)(1) (the “Property Exemption”). See [Doc. No. 1, page 31 of 72].

                         c. Alleged Liens, Interests, and Encumbrances

       12.     Trustee has reviewed GSCCCA.COM for all liens against the Property, and he has

only identified one lien or security interest in or against the Property: the 2002 security interest

originally granted by Debtor to Wachovia Mortgage Corporation, securing a loan made to Debtor in

the original principal amount of $129,900.00. Based on the assignment of claim filed in the

Bankruptcy Case, this security interest is now held by U.S. Bank, National Association (“U.S.

Bank”), and the balance of the claim secured by this interest is approximately $107,000.00. [Doc.

No. 44].

       13.     Upon information and belief, there are no other liens, interests, or encumbrances

on or against the Property except for the Bankruptcy Estate’s pro-rata share of the 2022 ad

valorem real property taxes due the Gwinnett County Tax Commissioner (“Gwinnett County”).

       14.     On July 27, 2022, Trustee filed his Application to Employ Real Estate Agent

Under Listing Agreement [Doc. No. 82], seeking authority to employ Humphries & King and

John Ball (collectively, the “Broker”) as the listing agent for the Bankruptcy Estate, at a starting

list price of $265,000.00 (the “List Price”) with a six percent (6%) commission of the sale price.



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On July 29, 2022, the Court entered an Order [Doc. No. 83], authorizing Trustee’s employment

of the Broker.

                          d. Filed Claims Against the Bankruptcy Estate

       15.       The total of the filed claims against the Bankruptcy Estate is $160,378.96.

$130,815.79 of these claims are filed as secured, $2,846.11 of these claims are filed as priority

unsecured, and $26,717.06 of these claims are filed as non-priority, general unsecured claims.

The deadline to file proofs of claim was July 20, 2022. [Doc. No. 71].

                      Request for Authority to Sell Property of the Estate
                    Free and Clear of all Liens, Interests, and Encumbrances
                            Pursuant to 11 U.S.C. §§ 363(b) and (f)

       16.       After much negotiation, Trustee entered into a Purchase and Sale Agreement for

the sale of the Property to Ye Liu (the “Purchaser”), “as is, where is,” for a sale price of

$247,500.00 (the “Purchase Price”) with a $2,500.00 seller’s contribution, subject to

Bankruptcy Court approval (the “Contract”). A true and correct copy of the Contract, as

amended, is attached hereto and incorporated herein by reference as Exhibit “A.”

       17.       The Purchaser was procured through the efforts of Trustee and his Broker, is a

bona fide purchaser, and is not an insider of Debtor, Trustee, or the Broker. The Purchaser has

submitted an earnest money deposit of $5,000.00.

       18.       Trustee’s proposed Contract for a Purchase Price of $247,500.00 is: (a) the

highest and best offer that Trustee has received; and (b) an appropriate selling price for the

Property.

       19.       Subject to Bankruptcy Court approval, the closing of the sale of the Property is

currently scheduled for December 16, 2022 (the “Closing”).




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                                            Legal Analysis

                                      a. Sale Free and Clear

       20.     Section 363 of the Bankruptcy Code authorizes a trustee “after notice and a

hearing . . . [to] use, sell, or lease, other than in the ordinary course of business, property of the

estate . . . .” 11 U.S.C. § 363(b)(1). Section 105 of the Bankruptcy Code grants this Court the

authority to “issue any order, process, or judgment necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a).

       21.     The standard to grant a sale of property outside of the ordinary course of business

is the sound business judgment of the trustee. In re Chateaugay, 973 F.2d 141 (2d Cir. 1992);

Stephens Indus. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); In re Abbotts Dairies of Penn.,

Inc., 788 F.2d 143 (3d Cir. 1986); Committee of Equity Security Holders v. Lionel Corp. (In re

Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983). In this regard, a trustee’s showing need not

be exhaustive; rather, a trustee is “simply required to justify the proposed disposition with sound

business reason.” In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984)

       22.     In turn, Section 363(f) of the Bankruptcy Code authorizes a trustee to sell

property under 11 U.S.C. § 363(b) free and clear of any interest in the subject property if, among

other things, the price at which the property is to be sold is greater than the aggregate of the liens

on such property, or if such interest is the subject of a bona fide dispute. 11 U.S.C. § 363(f).

Specifically, that code section provides:

       (f) The trustee may sell property under subsection (b) or (c) of this section free
       and clear of any interest in such property of an entity other than the estate, only if-

               (1)     applicable nonbankruptcy law permits sale of such property free
                       and clear of such interest;
               (2)     such entity consents;

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               (3)     such interest is a lien and the price at which such property is to be
                       sold is greater than the aggregate value of all liens on such
                       property;
               (4)     such interest is in bona fide dispute; or
               (5)     such entity could be compelled, in a legal or equitable proceeding,
                       to accept a money satisfaction of such interest.
Id.

       23.     As set forth above and below, Trustee can, under 11 U.S.C. § 363(f), sell the

Property free and clear of all liens, claims, interests, and encumbrances with any lien (to the

extent valid, perfected, enforceable, and unavoidable) attaching to the proceeds of the sale with

the same priority and extent as it had in the Property.

       24.     U.S. Bank and Gwinnett County have the only valid liens on or against the

Property, and the sum of those liens is less than $120,000.00. The proposed Purchase Price is

significantly greater than the amounts owed to these lienholders, satisfying Section 363(f)(3).

       25.     Notably, the proposed sale of the Property is not in the ordinary course of

business, as allowed by 11 U.S.C. § 363(b). Any lien to the extent valid, perfected, enforceable

and unavoidable will attach to the proceeds of the sale as provided by 11 U.S.C. § 363(f).

                             b. Good Faith of Trustee and Purchaser

       26.     Moreover, 11 U.S.C. § 363(m) provides that the reversal or modification on

appeal of an authorization of a sale or lease of property does not affect the validity of the sale or

lease under such authorization to an entity that purchased or leased the property in good faith.

See 11 U.S.C. § 363(m).

       27.     Although the Bankruptcy Code does not define good faith, courts have recognized

that the kind of misconduct that would destroy a good faith status involves fraud, collusion

between the purchaser and other offerors or the trustee, or an attempt to take grossly unfair




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advantage of other offerors. See In re Abbott Dairies of Pa., Inc., 788 F.2d 143, 147 (3d Cir.

1986).

         28.   Trustee and Purchaser have proceeded in good faith, and the Purchaser is a bona

fide, good-faith purchaser and not an insider of Debtor, Trustee, or the Broker. Consequently,

Trustee and Purchaser are entitled to the protections of 11 U.S.C. § 363(m).

                Request for Authority to Disburse Certain Proceeds at Closing

         29.   Trustee requests authority to have all sale proceeds paid to him at Closing and for

authority to have paid at Closing: (a) the full loan payoff to U.S. Bank; (b) all outstanding ad

valorem real property taxes to Gwinnett County (none anticipated); (c) the Bankruptcy Estate’s

pro-ration of the 2022 ad valorem county real property taxes due Gwinnett County

(approximately $2,400.00 based on the outstanding bill issued by Gwinnett County); (d) the real

estate commission of six percent (6%) of the Purchase Price in the amount of $14,850.00; (e) any

capital gains or other taxes related to the sale (none anticipated); (f) water and sewer liens (none

anticipated); Debtor’s Property Exemption in the amount of $21,500.00; and (h) all other costs of

sale, or costs necessary to close a sale of the Property.

         30.   All other distributions will be made only upon further order of the Court.

         31.   To the extent funds are disbursed at Closing by a party other than Trustee, Trustee

requests that such party be treated as Trustee’s designated and authorized agent.

         32.   Based on the above proposed distributions, Trustee estimates that the proposed

sale will result in approximately $90,000.00 to $100,000.00 coming into the Bankruptcy Estate,

all of which will be available to distribute in accordance with 11 U.S.C. § 726. In other words,

upon information and belief, the proposed sale of the Property to Purchaser will allow Trustee to

make a meaningful distribution to holders of unsecured claims against the Bankruptcy Estate, if



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not pay those claimants in full.

                                     Other Relief Requested

       33.     In addition, Trustee requests that the Court waive the stay of the order approving

the proposed sale as authorized under Rule 6004(h) of the Federal Rules of Bankruptcy

Procedure.

       34.     Finally, following notice to all creditors and parties in interest of the Sale Motion

and the date of the Hearing, Trustee invites any and all parties wishing to submit a competing

cash bid which exceeds the present Contract by at least $7,000.00, supported by earnest money

of at least two percent (2%) of the bid price, with no contingencies, and the ability to close

within ten (10) days from Bankruptcy Court approval, so long as earnest money is paid to the

Trustee in good funds and any such bid is filed with the Court in the form of an objection to the

Sale Motion by the objection deadline set forth in the related notice of hearing and objection

deadline filed contemporaneously herewith.

       WHEREFORE, Trustee respectfully requests that the Court enter an Order:

       (a)     Granting the Sale Motion;

       (b)     Authorizing and approving the Contract and the sale of the Property free and clear

of all liens, interests, and encumbrances;

       (c)     Authorizing the distribution of certain proceeds at Closing, as set forth herein;

       (d)     Authorizing the proposed sale to be consummated immediately as allowed by

Federal Rules of Bankruptcy Procedure Rule 6004(h); and




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      (e)    Granting such other and further relief as the Court deems just or appropriate.

             Respectfully submitted this 7th day of November 2022.


                                     ROUNTREE LEITMAN KLEIN & GEER LLC
                                     Attorneys for Trustee

                                     By:/s/ Michael J. Bargar
Century Plaza I                          Michael J. Bargar
2987 Clairmont Road, Suite 350           Georgia Bar No. 645709
Atlanta, GA 30329                        mbargar@rlkglaw.com
404-410-1220




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                              EXHIBIT “A” FOLLOWS
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                                                          AMENDMENT TO AGREEMENT
                                                             AMENDMENT # _____
                                                                           1
                                                                           11/3/2022
                                                          Date: ________________________________

                                                                                                                                                      2022 Printing
                                                                                       Ye Liu
        Whereas, the undersigned parties have entered into a certain Agreement between ___________________________________________
                                                                      DARWIN       FLORES
                                                                                    S. Gregory Hays, as Chapter 7 Trustee for the estate of
        _______________________________________________ (“Buyer”) and _____________________________________________
                                                                      Darwin G. Flores                              (“Seller”),
        with a Binding Agreement Date of __________________________________________ for the purchase and sale of real property located at:
        5598  Charmaine Bend
        __________________________________________________________, Norcross
                                                                    ______________________________, Georgia 30071
                                                                                                            ___________; and

        Whereas, the undersigned parties desire to amend the aforementioned Agreement, it being to the mutual benefit of all parties to do so;

        Now therefore, for and in consideration of the sum of Ten Dollars ($10.00) and other valuable considerations paid by each to the other, the
        receipt and sufficiency of which are hereby acknowledged, the parties hereto agree to modify and amend the aforementioned Agreement as
        follows: [Note: The following language is furnished by the parties and is particular to this transaction.]
        All parties agree sales price shall be $247,500.00 and seller shall contribute $2,500 towards buyer's closing costs.




         Additional pages (F801) are attached.
        It is agreed by the parties hereto that all of the other terms and conditions of the aforementioned Agreement shall remain in full force and
        effect other than as modified herein. Upon execution by all parties, this Amendment shall be attached to and form a part of said Agreement.

               By signing this Amendment, Buyer and Seller acknowledge that they have each read and understood this
                                               Amendment and agree to its terms.
                                                                                        S. Gregory Hays, as Chapter 7 Trustee for the   dotloop verified
                                                                                                                                        11/04/22 5:13 PM EDT
                                                                                        bankruptcy Mr. Flores
        ________________________________________________                            __________________________________________________
                                                                                                                                        TNXG-N0N3-ODEA-9LHY

        1 Buyer’s Signature34b3124                                                  1 Seller’s Signature


        ________________________________________________                            __________________________________________________
        2 Buyer’s Signature                                                         2 Seller’s Signature


         Additional Signature Page (F267) is attached.                              Additional Signature Page (F267) is attached.
        Right Path Realty
        ________________________________________________                           Humphries   & King Realty, LLC.
                                                                                   __________________________________________________
        Buyer Brokerage Firm                                                        Seller Brokerage Firm

                                                                                       John Ball
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                                                                                                                                        11/04/22 5:32 PM EDT
        ________________________________________________                            __________________________________________________  JE3M-QGQZ-RPYH-U4Z4

        Broker/Affiliated Licensee
                             1fb6bb5 Signature                                      Broker/Affiliated Licensee Signature


        ________________________________________________                            __________________________________________________
        REALTOR® Membership                                                         REALTOR® Membership


         Acceptance Date. The above Amendment is hereby accepted, _________________________   5:13     o’clock _________.m.
                                                                                                                      P     on the
         date of _____________________,
                       11/04/2022        (“Acceptance Date”). This Amendment will become binding upon the parties when notice of
         the acceptance of the Amendment has been received by offeror. The offeror shall promptly notify offeree when acceptance
         has been received.
                                                                                                                      La Heu
        THIS FORM IS COPYRIGHTED AND MAY ONLY BE USED IN REAL ESTATE TRANSACTIONS IN WHICH _____________________________ IS INVOLVED AS A REAL
        ESTATE LICENSEE. UNAUTHORIZED USE OF THE FORM MAY RESULT IN LEGAL SANCTIONS BEING BROUGHT AGAINST THE USER AND SHOULD BE REPORTED
        TO THE GEORGIA ASSOCIATION OF REALTORS® AT (770) 451-1831.
        Copyright© 2022 by Georgia Association of REALTORS®, Inc.                                         F701, Amendment to Agreement, 01/01/22
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                                      CERTIFICATE SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18 and that on this day I have
caused to be served a copy of the forgoing Trustee’s Motion for Authority to (A) Sell Property of the
Bankruptcy Estate Free and Clear of All Liens, Interests and Encumbrances, and (B) Disburse
Certain Proceeds at Closing by depositing in the United States mail a copy of same in a properly
addressed envelope with adequate postage affixed thereon to assure delivery by first class United
States Mail and/or certified mail, as indicated, to the following persons at the addresses stated:
First Class Mail                                        First Class Mail
Office of the United States Trustee                     Michael Campbell
362 Richard B. Russell Bldg.                            Attention: Denise Hammock
75 Ted Turner Drive, SW                                 Campbell & Brannon, LLC
Atlanta, GA 30303                                       5565 Glenridge Connector, Suite 350
                                                        Atlanta, GA 30342
First Class Mail
Bruce Williams, CEO                                     First Class Mail
NewRez LLC                                              Darwin G. Flores
1100 Virginia Drive, Suite 125                          5598 Charmaine Bnd
Fort Washington, PA, 19034                              Norcross, GA 30071

First Class Mail                                        First Class Mail and
NewRez LLC                                              Certified Mail
c/o Corporation Service Company                         U.S. Bank National Association
2 Sun Court, Suite 400                                  Andy Cecere, CEO
Peachtree Corners, GA 30092                             425 Walnut St
                                                        Cincinnati, OH 45202
First Class Mail
Andrew D. Gleason                                       First Class Mail and
Lefkoff Rubin Gleason Russo & Williams                  U.S. Bank National Association
PC                                                      Andy Cecere, CEO
5555 Glenridge Connector, Suite 900                     PO Box 1950
Atlanta, GA 30342                                       St. Paul, MN 55101-0950

First Class Mail
Denise R. Mitchell
Gwinnett County Tax Commissioner
PO Box 829
Lawrenceville, GA 30046
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      This 7th day of November 2022.
                                              /s/ Michael J. Bargar
                                              Michael J. Bargar
                                              Georgia Bar No. 645709
